                      UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

In re:
                                                               Case No. 23-49817-mar
Residents First, LLC,                                          Chapter 11
                                                               Hon. Mark A. Randon
         Debtor.

_____________________________________/

       MOTION FOR ORDER DIRECTING PRODUCTION
        OF DOCUMENTS AND ORAL EXAMINATION OF
ARA DARAKJIAN AND SCOTT PISTORIUS OF RESIDENTS FIRST, LLC

         Champion Home Builders, Inc. (“CHB”), through its undersigned counsel,

states as follows in support of its Motion for Order Directing Production of

Documents and Oral Examination of Ara Darakjian and Scott Pistorius of Residents

First, LLC (the “Motion”):

                               JURISDICTION AND VENUE

         1.        This Court has jurisdiction over this case pursuant to 28 U.S.C. § 1334

and venue is proper pursuant to 28 U.S.C. § 1408. The Court also has constitutional

jurisdiction over the relief sought in this Motion.

         2.        This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and

(O).

                                REQUESTED RELIEF




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      3.      CHB requests that this Court enter an order pursuant to Fed. R. Bankr.

P. 2004(a), directing Debtor’s sole member and manager, Ara Darakjian

(“Darakjian”) to produce certain records and directing Ara Darakjian and Debtor’s

Chief Financial Officer, Scott Pistorius to appear for oral examination by CHB.

      4.      Resident’s First, LLC (the “Debtor”) filed its voluntary petition under

Chapter 11 of title 11 of the United States Code (the “Code”) on November 8, 2023

(the “Petition Date”).

      5.      On December 18, 2023, Debtor, CHB, the United States Trustee,

Deborah Fish as the Subchapter V Trustee (“Trustee”), and the United States Small

Business Administration (“SBA”) filed a Stipulation for Entry of Order Granting

Subchapter V Trustee Expanded Powers [Doc 49] which expanded the Trustee’s

powers to include investigatory duties and required that the Debtor to produce

documents for investigation and review by the Trustee and CHB.

      6.      On December 18, 2023, the Court granted the Stipulated Order

Granting Subchapter V Trustee Expanded Powers [Doc 50] (the “Expanded Powers

Order”).

      7.      After CHB’s initial Fed. R. Bankr. P. 2004 (“Rule 2004”) oral

examination of Darakjian and based on the records produced pursuant to the

Expanded Powers Order, CHB determined it requires additional records and




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information to assist in its investigation of Debtor’s transactions and financial

affairs.

       8.     On February 6, 2024, during CHB’s initial Fed. R. Bankr. P. 2004

(“Rule 2004”) oral examination of Darakjian, CHB requested Darakjian produce

additional records and information which included: (a) last known contact

information for former employee, Heather Viehlman; (b) the Debtor’s general ledger

for its Merrill Lynch checking account for period of December 11, 2017 through

December 11, 2023; and (c) records supporting Debtor’s assertion that it experienced

a $1 million loss of rent in connection with CHB’s services that were the subject of

CHB’s arbitration judgment against Debtor; (collectively, the “Additional Records”)

       9.     Thereafter, CHB, through counsel, sent follow-up emails on February

9, 13, 15 and 20, 2024 requesting the Additional Records. As of the filing of this

Motion, Darakjian has not responded to the request and has not produced any of the

Additional Records.

       10.    CHB expects it will also require further oral examination of Darakjian

and other representatives of the Debtor, in particular, the Debtor’s Chief Financial

Officer, Scott Pistorius (“Pistorius”) pursuant to Rule 2004 to conduct its

investigation of the Debtor’s transaction and financial affairs.

                       BASIS FOR REQUESTED RELIEF

       11.   Rule 2004 allows parties in interest to inquire into “acts, conduct, or


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property or to the liabilities and financial condition of the debtor, or to any matter

which may affect the administration of the debtor's estate.”

      12.    The scope of an inquiry under Rule 2004 is very broad. Roosen v.

Gillespie (In re Gillespie), No. 22-12971, 2023 WL 4549561 at *2 (E.D. Mich. July

14, 2023); In re Great Lakes Comnet, Inc., 558 B.R. 194, 196 (Bankr. W.D. Mich.

2016).

      13.    The standard for determining the propriety of an examination request

under Rule 2004 is “good cause.” In re Davis, 452 B.R. 610, 617 (Bankr. E.D. Mich.

2011). “Good cause is established if the one seeking the Rule 2004 examination has

shown that such an examination is reasonably necessary for the protection of its

legitimate interests.” Id.

      14.    “A court must also balance the examiner’s interest against the subject’s

interest in avoiding the cost and burden of disclosure.” Id. (internal quotations

omitted); see also In re Gillespie, 2023 WL 4549561, at *2.

      15.    Good cause exists for entry of an order directing production of the

additional records and a further Rule 2004 examination of Darakjian as well as

Pistorius. As set forth above, the information CHB seeks to discover by this Motion

will assist in ascertaining a complete understanding of Debtor’s financial affairs.

      16.    Notice of this Motion has been served by electronic notice on: (a) the

Office of the United States Trustee for this District; (b) the Trustee; (c) Debtor’s


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counsel, (d) Debtor at the address listed in Debtor’s schedules, and (e) those persons

who have requested electronic notice pursuant to the Federal Rules of Bankruptcy

Procedure. In light of the nature of the relief requested, CHB requests that this Court

find the notice provided for herein sufficient under the circumstances.

      WHEREFORE, CHB respectfully requests that this Court enter an order:

(a) directing Darakjian to produce the Additional Records and to appear for

continued oral examination pursuant to Rule 2004; (c) directing Pistorius to appear

for oral examination and (b) granting such further relief that the Court deems just

and proper.

                                 Respectfully submitted by:

                                 TAFT STETTINIUS & HOLLISTER, LLP

Dated: February 28, 2024         By:    /s/ Jay L. Welford
                                        Jay L. Welford (P34471)
                                        Kimberly Ross Clayson (P69804)
                                        Counsel to Champion Home Builders, Inc.
                                        27777 Franklin Road, Suite 2500
                                        Southfield, Michigan 48034
                                        Phone: (248) 351-3000
                                        jwelford@taftlaw.com
                                        kclayson@taftlaw.com
                                        Counsel for Creditor Champion Home
                                        Builders, Inc.




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                               EXHIBIT A

              (PROPOSED ORDER DIRECTING PRODUCTION
              OF DOCUMENTS AND ORAL EXAMINATION OF
               ARA DARAKJIAN AND SCOTT PISTORIUS OF
                       RESIDENTS FIRST, LLC)




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                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

In re:
                                                            Case No. 23-49817-mar
Residents First, LLC,                                       Chapter 11
                                                            Hon. Mark A. Randon
         Debtor.

_____________________________________/

                      PROPOSED
             ORDER DIRECTING PRODUCTION
        OF DOCUMENTS AND ORAL EXAMINATION OF
ARA DARAKJIAN AND SCOTT PISTORIUS OF RESIDENTS FIRST, LLC
         THIS MATTER is before the Court on Motion for Order Directing

Production of Documents and Oral Examination of Ara Darakjian and Scott

Pistorius of Residents First, LLC (the “Motion”) filed by Champion Home Builders,

Inc. (“CHB”); notice of the Motion having been properly served; and no responses

or objections were timely filed or served,

         NOW THEREFORE, IT IS HEREBY ORDERED, the Motion is GRANTED,

Ara Darakjian, is hereby directed to produce the following records to CHB within

seven days of the entry of this Order: (a) last known contact information for former

employee, Heather Viehlman; (b) the Debtor’s general ledger for its Merrill Lynch

checking account for period of December 11, 2017 through December 11, 2023; and

(c) records supporting Debtor’s assertion that it experienced a $1 million loss of rent

in connection with CHB’s services that were the subject of CHB’s arbitration

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judgment against Debtor;

      NOW THEREFORE, IT IS FURHTER ORDERED, that CHB is authorized

file and serve upon Debtor a notice of deposition of Ara Darakjian and Scott

Pistorius at least seven days in advance of the Rule 2004 examination date.




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                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:
                                                                                    Case No. 23-49817-mar
Residents First, LLC,                                                               Chapter 11
                                                                                    Hon. Mark A. Randon
         Debtor.

         _____________________________________/

   NOTICE OF MOTION FOR ORDER DIRECTING PRODUCTION
        OF DOCUMENTS AND ORAL EXAMINATION OF
ARA DARAKJIAN AND SCOTT PISTORIUS OF RESIDENTS FIRST, LLC

      Champion Home Builders, Inc. (“CHB”) has filed papers with the Court
seeking entry of an Order pursuant to Fed. R. Bankr. P. 2004, directing Ara
Darakjian of Residents First, LLC to produce records and for Ara Darakjian and the
Debtor’s CFO, Scott Pistorius to appear for oral examination.

Your rights may be affected. You should read these papers carefully and
discuss them with your attorney, if you have one in this bankruptcy case. (If
you do not have an attorney, you may wish to consult one.)

      If you do not want the court to grant the motion, or if you want the court to
consider your views on the motion, within fourteen (14) days, you or your attorney
must:

1.                File with the court a written response or an answer, explaining your
                  position at:1

                                      United States Bankruptcy Court
                                           211 West Fort Street
                                          Detroit, Michigan 48226

                  If you mail your response to the court for filing, you must
                  mail it early enough so the court will receive it on or

 1   Response or answer must comply with F. R. Civ. P. 8(b), (c) and (e)



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            before the date stated above. All attorneys are required to
            file pleadings electronically.

            You must also send a copy to:

                  Jay L. Welford (P34471)
                  Kimberly Ross Clayson (P69804)
                  Counsel to Champion Home Builders, Inc.
                  27777 Franklin Road, Suite 2500
                  Southfield, Michigan 48034
                  Phone: (248) 351-3000
                  jwelford@taftlaw.com
                  kclayson@taftlaw.com

2.          If a response or answer is timely filed and served, the clerk will
            schedule a hearing on the motion, and you will be served with a notice
            of the date, time and location of the hearing.

      If you or your attorney do not take these steps, the court may decide that
you do not oppose the relief sought in the motion or objection and may enter an
order granting that relief.
                                     Respectfully submitted by:

                                      TAFT, STETTINIUS & HOLLISTER,
                                      LLP

Dated: February 28, 2024              /s/ Jay L. Welford
                                      Jay L. Welford (P34471)
                                      Kimberly Ross Clayson (P69804)
                                      Counsel to Champion Home Builders, Inc.
                                      27777 Franklin Road, Suite 2500
                                      Southfield, Michigan 48034
                                      Phone: (248) 351-3000
                                      jwelford@taftlaw.com
                                      kclayson@taftlaw.com

                                      Counsel for Creditor Champion Home
                                      Builders, Inc.



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                             SOUTHERN DIVISION

In re:
                                                               Case No. 23-49817-mar
Residents First, LLC,                                          Chapter 11
                                                               Hon. Mark A. Randon
           Debtor.

_____________________________________/

                              CERTIFICATE OF SERVICE

           I hereby certify that on February 28, 2024, I caused a copy of the following to

be served:

    (i)       Motion for Order Directing Production of Documents and Oral
              Examination of Ara Darakjian and Scott Pistorius of Residents First, LLC;
    (ii)      Notice of Motion for Order Directing Production of Documents and Oral
              Examination of Ara Darakjian and Scott Pistorius of Residents First, LLC;
              and
    (iii)     this Certificate of Service.
On all parties who are registered to receive electronic notification via the court’s

ECF filing system, including the Debtor’s counsel, and the United States Trustee;

and on the following individual via US Mail first class and postage prepaid:

Ara Darakjian, Responsible Party for Residents First, LLC
217 Pierce, Ste. 209
Birmingham, Michigan 48009




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                                      Respectfully submitted by:
                                      TAFT, STETTINIUS & HOLLISTER,
                                      LLP

Dated: February 28, 2024              /s/ Jay L. Welford
                                      Jay L. Welford (P34471)
                                      Kimberly Ross Clayson (P69804)
                                      Counsel to Champion Home Builders, Inc.
                                      27777 Franklin Road, Suite 2500
                                      Southfield, Michigan 48034
                                      Phone: (248) 351-3000
                                      jwelford@taftlaw.com
                                      kclayson@taftlaw.com

                                      Counsel for Creditor Champion Home
                                      Builders, Inc.




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